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              UNITED STATES BANKRUPTCY COURT
              DISTRICT OF NEW JERSEY
              Caption in Compliance with D.N.J. LBR 9004-1(b)
              Edmond M. George, Esquire
              OBERMAYER REBMANN MAXWELL & HIPPEL LLP
              1120 Route 73, Suite 420
              Mount Laurel, NJ 08054-5108
              (856) 795-3300
              Counsel to the Debtors

              In re:                                                          Case No. 19-31483-ABA

              EDWARD J. HOVATTER and KIMBERLY                                 Chapter 11
              MACALUSO HOVATTER,
                                                                              Judge: Andrew B. Altenburg
                                             Debtors.


             CERTIFICATION OF ALBERT CASALNOVA IN SUPPORT OF APPLICATION FOR
                                    PROFESSIONAL FEES

                       I, Albert Casalnova, being of full age, hereby submit this certification in support of the

            application for professional fees of Keller Williams Realty (the “Application”) (DI #127), and

            state as follows:

                       1.     On November 14, 2019 Edward J. Hovatter and Kimberly Macaluso Hovatter

            (collectively the “Debtors”) filed a voluntary petition for relief under Chapter 11 of Title 11,

            United States Code (the “Bankruptcy Code” or the “Code”) with this Court.

                       2.     I am a real estate broker with Keller Williams Realty (“KW”)

                       3.     On December 6, 2019, this court issued an order (DI #24) approving an

            application to employ KW as the Debtors’ real estate broker to sell their real property at 414 14th

            Street, Hammonton NJ (the “Property”).

                       4.     The approved terms of KW’s compensation are 5% of the sale price, to be split

            between buyer and seller brokers.

                       5.     In my role with KW, I marketed and sold the Property for $335,000.00.


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                      6.     That sale price would have entitled KW to $16,750.00 in compensation, but KW

            agreed to reduce the commission to $16,000.00 to accommodate a seller’s credit and facilitate

            the sale.

                      7.     On April 28, 2020, this court entered an order authorizing the sale of the Property,

            holding the commission payment in escrow pending the instant Application. (DI #85).

                      8.     The compensation sought by the instant Application is reasonable, consistent with

            KW’s court-approved employment, and based upon services which provided value to the estate

            by selling Debtors’ Property to pay certain secured creditors in full with some surplus for the

            estate.

                      9.     I therefore request the application of Keller Williams Realty for compensation be

            granted.



            I certify under penalty of perjury that the above information is true.




            Date:     29 October 2020                  ________________________
                                                       Albert Casalnova




            4810-9102-9456                                     2
